1:23-cv-01184-CRL-JEH # 318-29   Filed: 04/22/24   Page 1 of 15




             Exhibit 
Peoria Police 1:23-cv-01184-CRL-JEH
                Department             Date: JANUARY
                                    # 318-29           22, 1977Page
                                              Filed: 04/22/24   Case 2#of 15
                                                                           77-01588
 ,.,,
Pe~ria, 11 l inoi s                    Time: 1:15 P.M~

Statement of:   NOYALEE RUB.lNSUN

Q. Do you understand that we are -questiong you in regards to the deaths of your two
   children~                                                          0




A. Yes.

Q. Do you understand that you have an absolute right to remain silent and that you do not
   have to talk to me or answer any questions, unless you voluntarily choose to do so?
A. Yes.
Q. Do you understand that anything you say can, and will, be used against you in·a criminal
   prosecution i-n a court of law?
           C
A. Yes.
Q. Do you understand that you have the right to have an attorney present at this time,
   and that if you cannot afford one, one will be appointed to you at no cost?
A. Yes.
Q. Do you want to have an attorney present at this time?
A. I don't think I need one.
Q. Is it your desire to give this written statement and answer any questions without an
   attorney being present7
A. Yes.

Q. Do you understand that if you choose to g1ve this written statement and answer my questior
   you may excercise any of these rights at anytime before the statement is c01rpleted?
A. Yes.
Q. Do you understand that you may stop answering any questions at anytime, and that you
   may have an attorney present at : anytime?
A. Yes.

Q. Is it your wish and desire to give this written statenient and answe~ my questions
   voluntatily and of your own free will?
A. Yes.

Q. Have you been struck, beaten, abused, threatened ,by any police officer, including
   myself, or any person, at anytime or place to obtain this written statement?
A. No.

Q. Have you been promised irrmunity from prosecution or leniency of any kind by any police
   officer including myself, or any person, in order to obtain this statement?
A. No.
Q. While you have been in custody have you been allowed to smoke, go to the bathroom, eat
   and drink, if you so desired?
A. Yea.

Q. Can you read and write the English language?
A. Yea.

Q. Will you state your n ~ t e of birth, residence and telephone number?
                         REDACTED
A. Noyalee Robinson, 34, ~        3033 W. Garden, 637-1591.

          C(} °rf~ ~ - -                                            PEORIA_SAVORY 1679
              1:23-cv-01184-CRL-JEH # 318-29   Filed: 04/22/24   Page 3 of 15



  PAGE TWO
  STATEMENT OF:   NOYALEE ROBINSON


  Q. Noyalee, do you understand that we are questioning you in regards to your
  knowledge and actions prior to and irrrnediately after you discovered that there
  was something wrong with your children which occurred at 3033 West Garden?
  A.   Yes.

  Q. Would you please state in your own words your actions and the actions of
  your family members, including William Douglas, prior to 4:35 p.m. on 1-18-77?
  A. I worked Monday and I got off at four o'clock and Peter was going to pick
  me up but I left because I didn't know he was going to pick me up. Well, he
  had said something about it, he wasn't there at four so I left. I saw him
  on Jefferson Street near the bus stop and that's when he picked me up. We came
  on home Monday and I heated up food from Sunday and I offerred him some and we
  ate. And I asked·him would he mind taking me over to my girlfriend's house and
  that's where he took me. I stayed with Myrtle, I guess till around ten or
  something. My daugher called and asked for a ride home. So then I called him
  at the Blue Shadow and he picked me up, we picked my dagghter and grandson up
  and we went home·. He said, 11 Wel I, I guess I have to go over to Jirrrnie's" but
  I knew he wanted to stay so I said, "You can stay here". My son wasn't home at
  the time. Later he and another child came home together and we was sitting there
  watching television. The other child played around with my boy and he left. We
  ail sat and just watched TV. Connie said, "Well, I better go do my dishes" and
  she sat back a little while afterwards watching TV. Connie, my son and myself
  was on the sofa. Jirrrnie's ex-wife, Tony, called wanting to get her ex-husband's
  car started. Peter wanted me to leave and go with him and I told him I wasn't
  going nowhere in the cold and he said he didn't have booster cables. And so I
  said, "Well, how are you gonna start her car?" So I said, "Well, you go ahead
  on. We'll be up when you get back". So he stayed gone awhile and then he came
  back. He sat in the chair and we still watched television. Then Connie said,
  "I 1m going to bed" cause it was pretty 1ate. My son and I and Pete sat up for
  awhile. I said, "I'll cover you up on the sofa" talking to Pete. I said, "It's
  getting late and I have to go to work; I'm going to bed, I can't rest on the
  sofa". I went to bed leaving my son and him up in the living room. Well, that
  was it for Monday night.

  I got up between 6:30 and 6:35 and I woke him up because he had to pick Jirrrnie
  up and take us both to work, I got dressed. What time did I say I got up?
  That's what time I left. My alarm clock is set for around ten to six and that's
  when I got up and I leave home around 6:30 or twenty-five to seven. We stopped
  and picked Jirrrnie up. We rode downto Ike and Swannie 1 s and had coffee and juice.
  Then we left there, we dropped Jirrrnie off at his job, Kieffer Electric, He dropped
  me at my job, Foster Jacobs, and then he left. At work I put a Jot of junk away,
  stocked. After lunch I made a couple of pickups I think, I'm not sure, and came
  back in the shop and worked around there till four o'clock. Peter picked me up
  at four. He stopped at Jim's Phillips 66 station and he bought two cans of
  something for a car. He took them to Parks Funeral Home, then he took me home.
  I knocked on the door, didn't get an answer. I felt in the mailbox for the key
  where I keep it at, it waA* wasn't there. We looked in through the window cf the
  front door and the television was on the floor, the vacuum cleaner was pulled out
  of the closet and my key was on the floor. We knocked and knocked again, He said,
  "They're probably asleep". I said no, not this time of evening, I guess she was
  gone someplace, where could she be gone unless she's over to Renetta 1 s. I said, "I'll
  go next door to Mr. Adai~•s, our landlord, to see if he had a key to the house and
  ,o call Reo,,,,,, bec,,s, l  co,ld see ,ha< myphooe   w,,,,, c~ple,ely   d~ or:~~?
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                                                                   PEORIA_SAVORY
                 1:23-cv-01184-CRL-JEH # 318-29    Filed: 04/22/24   Page 4 of 15


     PAGE THREE
     STATEMENT OF:    NOYALEE ROBINSON


     Mr, Adair didn't have an extra key, I called Renetta and I asked had she seen
     Connie today, She said no, I've been trying to get her ever since nin o'clock
     this morning on the phone and I said I'd called around eleven something that
     day and the phone was busy, So I went on back to the house, Peter was sitting
     in the car and as I approached the car I looked at the garage door and something
     said try the garage door so I walked over to the garage door and I pulled it up
     and we both went in and I said, "I wonder where those kids are, the garabage hasn't
     been taken out and the house is dirty". So then_! heard "peep peep" sound, I
     said well, that's Cory. I said I know Connie wouldn't leave him alone, I said
     you look and see what's wrong, I was at the living room door to the kitchen.
     Peter walked to the bedroom and pushed the door open and said, "Oh my God" and
     I said, "What is it, what is it?" and he said, "Don't go in there" and I said
     "What is it?"' and he said, "They' re dead" and I said wrat and I said what happened
     to them and I think, I'm not sure, he got the baby and he took us to the car, I
     don't know if he went back in the house over to Mr, Adair's first, I sat in
     the car and Renetta came up and he had her to take the baby and she took the baby
     cause I was upset. And then Mr. Adaiar and his helper went in with Peter and I
     don't know what else went on inside,

     Q,    Oo you know what William did Monday prior to picking you up?
     A,    He was supposed to work I guess, I don't really know,

     Q,    On Monday evening approximately what time did you and William get home?
     A.    I should have been there by four thirty I guess,

     Q, How did William seem to you when he picked you up?
     A, He said he wasn't too pleased cause I had left and I told him that I really
     didn't know he was coming, I don't think he was mad or nothing,

     Q, What kind of food did you prepare Monday evening after you got off of work?
     A. I warmed up waht I had on Sunday. I had cabbage and fried corn and I added·
     some weinters to the corn, I had some meatloaf left over, There was corn bread
     but I didn't have it cause it had gotten hard. I think that was all I had,

     Q,    After warming up this meal for you and William did you do the dishes?
     A.    No.

     Q, What did you do with the food after you and him got through eating?
     A, The reaminders of my dinner I left on the stove because my kids would be
     home sometime.

     Q,    How did you leave them on the stove?
     A.    They were in the pots and pans,

     Q.    Do you normally do the cooking at your house?
     A.    Only on Sunday, some Saturdays. My daughter, she cooks everyday for me,

    Q. When you prepared the cabbage and corn on Sunday, did you notice if you had
    any other cans of corn in the house?
    A. Yes, I went shopping Saturday or FRiday and there was so many for a dollar.
     I thmnk I bought eight cans of corn, some tall cans and some short cans and I
     think I only fixed two cans, a tall can and a short one. 0n Monday I opened
    another ca~__ an;4dded it to t h a ~

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                                                                           PEORIA_SAVORY 1681
            1:23-cv-01184-CRL-JEH # 318-29     Filed: 04/22/24   Page 5 of 15


PAGE FOUR
STATEMENT OF:   NOYALEE ROBINSON


Q. What did you do with the dishes that you and \./illiam ate from?
A. I always put my dishes in the sink. Most of the time I rinses them out but
I can't remember if I rinsed them out that evening.
Q. Approximately what time did William pick you up at Myrtle McDonald's on
Monday?
A. I called him around ten something at the Blue Shadow and he was about ten
of fifteen minutes coming?
Q. Where did you pkk up your-daughter Connie at after leaving Myrtle's?
A. I can't remember her address but she lives on Lydia.
Q.   Do you know the people wh~ live on Lydia where Connie was at?
A.   Yes.
Q.   What are their names?
A.   Stanford Williams and Renetta Williams.
Q. Did you or William go into the house when you picked up Connie?
A. I went in the house. First we blew a couple of tines but she didn't hear
us so I went in and helped her get the baby ready.
Q. Who was in the house?
A. Renetta and Stan was there and the children. She told me earlier that she
was going to try and get Chuckie to bring her home but she didn't get in touch
with him.

Q. While driving home did Connie indicate to you that anyone else was with them
at Stan and Renetta•s house?
A. No, she didn't.·
                I

Q. Did William appear to have been drinking when he picked you up at Myrtle's house?
A. Well, he wasn't drunk but he had been drinking because I asked him on the phone.
I said, "Are you drinking?" because I don't like riding on the ice and snow slippin 1
and s1 idin' and I think he said he had just a couple drinks.

Q.  Ap%2x i WilteJ,r ,t-itJa l. ti)Wl did you arrive home from Renetta 1 s house?
A. It :oA·wt., i4A"'BeEaLtse Connie wanted to finish hearing about this man who
was shot to death for murder. So I said, "I've seen that", so it was around'
ten-thirty or so, I think there was a special on after the news.
Q.   Did Connie watch all of this program?
A.   No, she didn't watch it all. We ended up watching a movie or somethin'.
Q.   Can you recall what movie you watched?
A.   No.

Q.   Did Connie eat any of the food that you had left for her?
A.   No, she sa~.d she had ate supper at Renetta I s.




                                                                     PEORIA_SAVORY 1682
            1:23-cv-01184-CRL-JEH # 318-29     Filed: 04/22/24   Page 6 of 15


PAGE FIVE
STATEMENT OF:   NOYALEE ROBINSON


Q~   Approximately what time did Mames come home Monday evening?
A.   I'd say around ten or fifteen minutes to ten.

Q. Will you describe the boy that was with hrim?
A. He's black, he looked to be about the same age, 14. I know he had on a
cap and some of his teeth looked 1 ike they was out of place and I th.ink he
had on beige britches and some kind of jacket. MH He's thin, that's all I
can remember about the child.

Q. Have you ever seen this boy before and did you ever hear James call him
by name?
A. I've never seen him before and he did introduce us as his mother and step-father
but I can't remember his name,

Q.   Where did this introduction take place?
A,   In my house in the living rodm?
                                   I
Q,   Approximately what time did t.his young black male leave your house?
A.   About ten or a little after,  I
Q. Oid William leave the house at any time after you arrived home after picking
up Connie?                      ''
A. Yea, he left.

Q. Approximately what time did he leave?
A. There was a program on, there was a story on, I can't remember what story
was watching, The kids kept making so much noise, My son and his friend kept
showing up drawings.
Q.   Oid William leave while this other boy was still at your house?
A.   The boy 1eft before he did.

Q. Can you recall approximately tow much sl time passed from the time the boy
left until William left?
A. About fifteen or twenty minutes.

Q,   About how long was Peter gone?
A.   He was gone about half an hour to forty-five minutes.

Q. Oid you suspect anything funny when Peter wanted to go start this car knowing
that he didn't have any booster cables?
A. No, because he'll break his back to do anything for Jimmie. He's always old
faithful.

Q.   What is Jimmie's last name?
A,   Mills.

Q.   Where does Jimmie Mills Jive?
A.   Martin Street. Him and Peter are rooming together.




                                                                     PEORIA_SAVORY 1683
            1:23-cv-01184-CRL-JEH # 318-29     Filed: 04/22/24   Page 7 of 15

PAGE SIX
STATEMENT OF:   NOYALEE ROBINSON


Q. Approximately what time was it when Connie stated, ."Well, '1 better go do
my dishes"?
A. Around ten something, around the news.

Q. Did Connie wash all of the dishes including the pans that contained the food?
A. Yes, because I believe she said, "Mama, you don't want anymore of this cabbage
do you?"

Q.   What did she do with the remaining corn?
A.   Well, if it wasn't thrown in the garbage she put in the garbage disposal.

Q.   Oid you go into the kitchen at any time after Connie did the dishes?
A.   I think so, I think I was in there when she was doin 1 them.

Q.   Did James have any food to eat prior to Connie disposing of the leftovers?
A.   I don't think he did.

Q.   Did you see Connie take a bite of any of the food?
A.   No.

Q. Did Connie tell you what she had to eat over at Renetta 1 s?
A. I think she said salisbury steak, I can't runember what else, she did tell
me though.

Q.   Did she tell you what time she ate at Renetta 1 s?
A.   No, she didn't.

Q. Were there any dirty dishes in your kitchen when you went to bed?
A. I put in the sink three glasses, I think. I put one rock glass and two
tall black horoscope cups in the sink.

Q. What time did Connie go to bed?
A. It might have been around twelve somethin 1 cause I stayed up pretty late
later than usual.

Q.   Where did Connie sleep Monday night?
A.   She slept in her bedroom.

Q. Did you see what she was wearing when she went to bed?
A. I really can't remember, I can't remember if she had on a shorty pajama
outfit or not. I think when she went to bed she didn't even come back out in
the room.

Q.   Did Connie close the door when she went to bed?
A.   Yea.

Q.   Why did you stay up?longer than youlSusally do?
A.   To watch the movie.

Q.   Can you recall what movie it was?
A.   I can't recall.




                                                                     PEORIA_SAVORY 1684
                 1:23-cv-01184-CRL-JEH # 318-29           Filed: 04/22/24    Page 8 of 15


    PAGE SEVEN
    STATEMENT OF:     NOYALEE ROBINSON


    Q.   Do you have cable TV?
    A.   No.

    Q.   Do you recall what station you were watching?
    A.   It might have been 31.

    Q. Who was watching this movie with you?
    A. Well, we all were watching it, including Connie, and I didn't finish watching
    it, I tried. I left Peter and my son up watching it.

    Q. Was Peter Gonsuming any alcoholic beverages that evening?
    A. Well, after he came back from trying to start Jimmie's car he said, "Give me
    one" and I presumed he meant a drink so I got the glass and a bottle. But he meant·
    a beer but he took the drink instead. I only remember one drink he had.                               --~
      Q. Approximately what time did you go to bed?                                              N,~. ··
  /.~ A~.l(It was one SIIITiethin; I believe it was 1~·30 cause the kids is alwa¥i running rne
/JTo i ~ bed and they told me it was two-thirty  ..... - .....
                                                               but actually I think it was onethirty •. ......

    Q,   Did you fall asleep or doze off while watching the movie?a
    A.   Yes.

    Q. Do you have any idea how long you slept?
    A. Well, it wasn't no long sleep, I kept falling asleep and waking up and there
    wasn't no sense in me sitting there.

    Q. Are you sure you didn't go to sleep at any time prior to going to bed with
    Connie?
    A.   No.

    Q.   When you went to bed what was Connie doing?
    A.   She appeared to be asleep.

    Q.   What side of the bed did you sleep on?
    A.   I sleep on the back side near the wall.

    Q.   Can you recall where the phone was that night in relationship to the·bed?
    A.   I don't remember that night but she always puts the phone by her.

    Q.   At any time during the night were you aware that Connie got out of the bed?
    A.   No, I don't, cause once I got to sleep I go to sleep.

    Q.   When you went to bed where was Peter and James?
    A.   I covered Peter with a sheet on the sofa and James was on tre floorbby the sofa.
    Q.   Where was the baby?
    A.   The baby sleeps in the bed with James and was back there by itself.




                                                                                  PEORIA_SAVORY 1685
            1:23-cv-01184-CRL-JEH # 318-29   Filed: 04/22/24   Page 9 of 15

. PAGE EIGHT
 STATEMENT OF:   NOYALEE ROBINSON

Q.   Was James and William still watching the movie when you went to sleep?
A.   Yes.

Q/ What was James wearing when you last 51W him Monday night when you went to bed?
A. He wears jeans and he's got two shoes but both of them are tan shoes and a
shirt I think.
Q.   Did you wake up at any tiem during the night?
A.   No.

Q.   Was Connie still in bed with you when the alarm went off at ten mintues of six?
A.   Yes.

Q.   Did Connie wake up when you did?
A.   No, she never does.
Q.   Where is the alarm clock located?
A.   It's right on her chest of drawers next to her.
Q. Would you have had to get out of bed and go around to Connie's side in order
to turn off the alarm clock?
~- Yes.
Q.   At any time during the night did you hear the phone ring?
A.   No.
Q.   At any time Monday evening did you watch any of the football game?
A.   No, I don't like sports.
Q. Have you ever known James to carry a knife?
A. He had a camping knife awhile back. He showed it to me,       It had a fork, I think
a spoon but I haven't seen that knife in so long.
Q. Have you ever known William to carry a knife?
A. Yea, but it's been a long time. The cops took it away from him.        Now he might
have had one since then but I wasn't around,
Q. What does James normally wear when he goes to bed?
A, I have to get on him about going to sleep in his clothes but he normally sleeps
in his drawers.

Q.   Did William stay at your house Sunday night?
A.   Yea.
Q.   Where did you sleep " Sunday night?
A.   He slept on one end of the sofa and I slept on the other end of the sofa.
Q. Prior to leaving the house for work Tuesday morning did you have any
conversations with either Connie or James?
A. Every morning I always tell Connie that I'm fixin' to leave.




                                                                   PEORIA_SAVORY 1686
            1:23-cv-01184-CRL-JEH # 318-29    Filed: 04/22/24   Page 10 of 15


PAGE NINE
STATEMENT OF:   NOYALEE ROBINSON

Q,   Oid you go into the bedroom to tell Connie bye?
A.   Yes.

Q,   Did Connie respond to you?
A.   Yes,

Q.   What did !he say?
A.   Okay. I never leave without saying I'm going.
Q.   What time was it ,~hen you and Wil 1i am left for work Tuesday morning?
A.   It was between six thirty and twenty-five minutes to seven.

Q. What was William wearing when you and him left the house Tuesday morning?
A, I think he had on blue pants, I know they were dark and I thinkth~y were
blue, a blue shirt.
Q.   What kind of shoes and coat was he wearing?
A.   Black shoes and I think an old black coat.
Q, Do you knwo what happened to the sheet and bedding that William used while
sleeping on the sofa?
A. I balled it up and put it away as I put the glasses away cause I don't like
to be extra work on Connie and I just put it in the closet between the bathroom
and the bedroom.

Q. You put the three glasses in the kitchen sink Tuesday morning prior to going
to work?
A.   Yes.

Q. When you put these glasses in the sink did you notice any other dirty dishes
or any food on the stove?
A, I don't think there was, because sometime Scoapie leaves dirty dishes and I
go end get on him about leaving dirty dishes. I usually make him rinse them out
with ~ot water and put them in the rack.

Q, Let's go back to when you and William pulled into the driveway Tuesday evening.
Did William or yourself go around to the back of the house to check the back door?
A. I did, cause he asked me did I think the back door would be unlocked and I said
no, but that I would go and check it anyway.
Q,
Q.  Why did you go to Pat Adair I s prior to trying to open the garage door?
A. Well, I figured Connie was over at Renetta's and I went to use the phone
but there was a man on the phone so I waited and then I called Renetta and she
said she hadn't seen Connie and she's been trying to call her ever since nine
that morning, So I asked was Mr. Adair in and by that time he walked in. So
I asked him would he have another key cause I couldn't get in. Then he told me
no, he didn't have one.




                                                                    PEORIA_SAVORY 1687
           1:23-cv-01184-CRL-JEH # 318-29    Filed: 04/22/24   Page 11 of 15


PAGE TEN
STATMENT OF:   NOYALEE ROBINSON


Q.   What type of dog 90 you have?
A.   I've got a German shepherd.
Q.   Could you see your dog from the front door while you were knocking?
A.   Yes.
Q.   What is the name of the dog?
A.   His name is Trouble Man.
Q.   How does Trouble Man react when a stranger comes into your house?
A.   He's real alert, he gets up.
Q.   Is Trouble Man protective of family members?
A.   Yes, he'll mind when he's told.
Q. I mean will Trouble Man attack a stranger if they were trying to harm James
or Connie?
A. Yes.
Q. What makes you think this?
A. I've seen him wrestle with Connie and I've seen like in the back yard he and
his friends would be wrestling and he' gets upset and during the summer hewas
out on the chain and James and Scopie and his frired was wrestling and we made
them stop sa because I d~dn 1 t want him to get over there because I knew he would
bite.
Q.   Has Trouble Man ever bitten anyone before?
A.   Yea, he's on record.
Q. Can you recall exactly whre you were in the house when you heard the phone
beep-bpep?
A. XKMXKli'X Uh huh, it was a toy, because Christmas I bought him this thing
you ride on and it has a little red horn and it goes beep beep beep.
Q.   Where was William when you first heard this beep?
A.   We were in the kitchen, we had just gotten into the house.
Q.  Did you or William touch the kitchen phone at any timepprior to hearing
this beeping?
A. I didn't. When I got in there it was quiet. Then I heard the beep beep beep.
I didn't use the phone. I don't remember him using the phone but it seemed like
he said the phone was off, or dead or wasn't working or something. I was in such
a state.

Q. I am referring to when you and William entered the kitchen from James' bedroom
and you first heard this beeping sound, had you or William touched any of the phones
at that point?
A. No, I don't think he did. I didn't.
Q.   Who went into the living room first, you or William?
A.   Peter.




                                                                   PEORIA_SAVORY 1688
            1:23-cv-01184-CRL-JEH # 318-29   Filed: 04/22/24   Page 12 of 15


PAGE ELEVEN
STATEMENT OF:   NOYALEE ROBINSON


Q. Did you go into the living room?
A. I started to go into the living room, I stepped into the living room, but he
stopped me from coming all the way.

Q.   Could you see Connie's bedroom door from where you were standing?
A.   You can't see the whole door but you can see the door.

Q.   Did you ask Peter to go see what the problem was?
A.   Yea.
Q.   Why did Peter try to hold you back at that point?
A.   He said he didn't want me to see that.

Q. Did Peter try to stop you from going to Connie's door before he went and
checked?
A. No.

Q.   Did you see William when he went and opened Connie's door?
A.   Yea.

Q. About how far did William open the door into Connie's room?
A. I don't really know how far, it happend so quick. He opend the door and then
he hollered. I don't know how far he opened it cause you can't see the whole door.

Q.   About how long of time did William have the door open?
A.   About two seconds. ( She demonstrated on the door to Office 215)
Q.   What was Peter wearing when he went to bed Monday night?
A.   When I went to bed I saw him pulling his pants off.

Q.   Did Peter take his shoes off?
A.   Yea, he took his shoes off •.
Q.   W~at was Peter wearing when he got up Tuesday morning?
A.   Hts drawers.and undershirt.
Q.   What type of underclothes were these?
A.   He wears those big drawers, I'm really not sure.
Q.   Where do you work?
A.   I work a~ Foster Jacobs Electric.

Q. Did you leave Foster Jacobs at any time between 7:30 a.m. and 4:00 p.m.
on Tuesday?
A. Yes, it was after lunch. See, I was scared to drive on the ice and if the
weather is bad I don't have to drive and I remember my boss asking me did I think
it was too sHck and I said no, I don't think so. I think I wmnt two places.
Q.   Where did you go?
A.   I think I went to Crescent and somplace else, I don't know for sure.




                                                                   PEORIA_SAVORY 1689
           1:23-cv-01184-CRL-JEH # 318-29    Filed: 04/22/24   Page 13 of 15


PAGE TWELVE
STATEMENT OF:   NOYALEE ROBINSON


Q, Did you go to Crescent and then return to Foster Jacobs and then go someplace
else?
A, I went to 6reseent to pick up a braker and I took it to my boss• son, Gary
Jacobs, out in Pioaeer Park, it's right there by Dawson's, I can't remember if
I went somewhere before that,

Q,   What time did you have lunch?
A,   We have lunch at twllve o'clock,

Q, Did you call anyone while you were working?
A. I called my children around eleven something and the line was busy, And I
called Parks about four something to see if Peter was gonna pick me up or not
and they said yes, he had just left,

Q.   Did you call Jimme Mills at anytime on Tuesday from work?
A.   Yes, I called his job, He wasn't there,

Q,   Why did you call him?
A.   When I'm not doing anything and no one's around I make a call,

Q. Did you call him at anytime after that?
A, First time I called he wasn't there so I found something else to do.        And then
I called him again a second time and we talked,

Q. What did you talk about?
A. I asked if he got his car started and he alwasy talking to me about, Tony, his
ex-wife.

Q.   Can you recall what time it was when you talked to him the second time?
A.   It was early, it was befofe lunch time.

Q.   How long were you married to William Douglas?
A,   We were married about six years; we've been together about nine years I guess.

Q.   When were you divorced?
A,   Weve been divorced, if it ain't six months it will be six months,

Q. Why did you and William get divorced?
A. Because I got tired of him running around and getting in arguments. I just
gQt fed up. I had taken it a long time, I just got to my breaking point,

Q, Do you know the names of any females that he was messing around with?
A, The last one he just moved away from. Linda Jones, Nickie Wade (that was
back during the summer), there was another one Diane Miller, then there was
Katie Lee and I don't know the rest of them,

Q,   Was there ever a female by the name of Gloria involved with William?
A,   I don't know, there might have been. Hazel Trapp, I forgot about her.




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            1:23-cv-01184-CRL-JEH # 318-29      Filed: 04/22/24   Page 14 of 15

· PAGE THIRTEEN
  STATEMENT OF:   NOYALEE ROBINSON


Q,   Who got the divorce?
A,   I did,

Q,   On what grounds did you get this divorce?
A.   Adultery, I think that's all,
Q. Let's go back to Tuesday evening, When you and Peter were in the house
the first time, this being when he opened the door and said, "Oh, my God"
and until the time both of you left the house, did either of you put the
living room phone, which is green in color, back on the hook?
A. I don't know, I didn't touch it, I don't know if he did or not.

Q, When William got Cory, explain exactly what you and William did?
A, He came to me and 1 was crying and he was holding us, I stood a few minutes
and I as was crying and he took us on out the door and/put u~ in the car.
Q,   What door did he take you out?
A,   Out the front door, I remember watching the steps so I wouldn't fall,

Q, Did .ii 11 i am start the car at that time?
A, I think so, I can't remember if it was already started but he probably started
it cause I know when we went in the house he probably cut it off,

Q.   Was William running when he went to Pat Ada i r I s to ca I I for help?
A,   Yes and they were all in a hurry coming back,
Q.   What was William wearing when he picked you up from work on "Tuesday?
A,   He was in brown, I think.
Q. Do you recall an incident on July 5, 1976, involving a person by the name
of Gloria or Peter and somebody else?
A. I don't know no girl named Gloria unless I'm confused with Linda Jones,
Two or three weeks before my divocce, long than that, he moved out with her,
Q, How long has Connie been living with you in Peoria?
A. The baby's two years old, she was pregnant when she came here,          I'll say
two and a half years, I'm not sure, thel:aby was born here.
Q,   What hospital was the baby born in?
A.   The baby was born in Methodist Hospital.

Q, Would you describe the relationship between Hilliam and Connie?
A. To me they got along beawtifully. The last time I left him, before the divorce,
he and I got into it and he slapped her and then we moved away and I know about a
week later she and her friend Renetta they went on a boat ride and him and Linda
was at the boat ride and the kids came home telling me about how he cried and begged
Connie on the boat to talk to me,_ he wanted to go back, he was sorry about everything
that had happened.




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             1:23-cv-01184-CRL-JEH # 318-29   Filed: 04/22/24   Page 15 of 15


PAGE FOURTEEN
STATEMENT OF:    NOYALEE ROBINSON

Q.   Have you ever known William to flirt with Connie?
A.   No, I haven't.

Q.   Have you ever known Connie to flirt or make any advances toward William? ·
A.   No, she wasn't that type of girl.

Q. Do you have any reason to believe that there was any involvement between
Connie and William other than you've described?
A. No.

Q. Is there anything ase you wish to add to this statement?
A. No, but I do have something to say. I'm tired but I understand why and I
know what you all are doing. I don't care. I don't know who did my kids this
a\vay, I want to find out, I don't care if it was dady. I loved my kids, we had
a beautiful relationship. I guess that 1 s all. And Inthank and appreciate everybody
that's helping me.


This statement consisting fourteen typewritten pages, this page included, was
given by the undersigned, NOYALEE ROBINSON, in the office of the Detective Bureau,
Feoria Police Department, Room 215, 542 SW Adams, Peoria, Illinois on January 22, 1977,
and was concluded at 4:16 P.M. This statement was taken by Officer John E. Fiers
and Officer Charles H. Cannon and was typed by Debra A. Turner.

I, NOYALEE ROBINSON, have had this statement read to me in its entirety by Officer
Charles Cannon and i.t is a true and correct written statement.

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